Case 2:05-cr-20122-SH|\/| Document 42 Filed 07/19/05 Page 1 of 2 Page|D 46

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UNITED S'I`ATES DISTRICT COUR'I` 1 * """" '~ D'C'

WESTERN DISTRICT OF TENNESSEE 05
Western Division JU[' 19 PH lt: 53

  

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UNITED STATES OF AMERICA "" la ' 'izl:MPH]S
-vs- Case No. 2:05cr20122-02D
BRENDA COLBERT

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
THURSDAY, JULY 21, 2005 at 3:15 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom M-3, Nintb Floor, United States Courthouse and Federal Building, 167
North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing.
Date. Ju1y19, 2005 //\ l d 01 z QM//

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UNITED sTATEs MAGlsTRATE JUDGE

 

llf not held immediately upon defendants first appearance, the hearing may be condoned for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(1)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(£`) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judici al officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:05-CR-20122 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

